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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: VIOXX

PRODUCTS LIABILITY LITIGATION
This document relates to

Case No. 05-6404

MARIA ISABEL VELEZ-REYES, et al.

Plaintiffs,
v.
MERCK & CO., INC. et al.,

Defendant.

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MDL Docket No. 1657

SECTION L

JUDGE FALLON

MAGISTRATE JUDGE
KNOWLES

CERTIFICATE OF COMPLIANCE WITH PRE-TRIAL ORDER NO. 8B

In compliance with Pre-Trial Order No. 8B, undersigned counsel hereby certifies that as

soon as the Order of Dismissal is entered by the Court she will make the change directly on File

& Serve to reflect the withdrawal of counsel in the above-captioned case.

‘s/ Dorothy H, Wimberly

Phillip A. Wittmann, 13625

Dorothy H. Wimberly, 18509

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BIL42Ev.l
Case 2:05-md-01657-EEF-DEK Document 8136-1 Filed 10/23/06 Page 2 of 2

CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Certificate of Compliance With Pre-
- Trial Order 8B has been served on Liaison Counsel, Russ Herman and Phillip Wittmann, by U.S.
Mail and e-mail or by hand delivery and e-mail and upon all parties by electronically uploading
the same to LexisNexis File & Serve Advanced in accordance with Pre-Trial Order No. 8B, and
that the foregoing was electronically filed with the Clerk of Court of the United States District
Court for the Eastern District of Louisiana by using the CM/ECF system which will send a
Notice of Electronic Filing in accord with the procedures established in MDL 1657, on this 23rd

day of October, 2006.

/s/ Dorothy H. Wimberly
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